     Case 1:16-cr-00093-LJO-SKO Document 120 Filed 05/17/17 Page 1 of 2


 1    PHILLIP A. TALBERT
      United States Attorney
 2    CHRISTOPHER D. BAKER
      Assistant United States Attorney
 3    2500 Tulare Street, Suite 4401
      Fresno, CA 93721
 4    Telephone: (559) 497-4000
      Facsimile: (559) 497-4099
 5
      Attorneys for Plaintiff
 6    United States of America

 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:16-CR-00093-LJO-SKO

12                                        Plaintiff,     PRELIMINARY ORDER OF FORFEITURE

13             v.

14    ANGELICA MORENO-VELASQUEZ,

15                                        Defendant.

16

17             Based upon the plea agreement entered into between United States of America and

18    defendant Angelica Moreno-Velasquez, it is hereby ORDERED, ADJUDGED AND

19    DECREED as follows:

20             1.       Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), defendant

21    Angelica Moreno-Velasquez’ interest in the following property shall be condemned and

22    forfeited to the United States of America, to be disposed of according to law:

23             Items seized pursuant to search warrant 1:16-SW-00152-SAB from 4035 Illinois
               Avenue, Fresno, California:
24
                        a.   Samsungcellular telephone,
25                      b.   Samsung Galaxy S6 cellular telephone,
                        c.   Apple iPhone 6,
26                      d.   LG cellular telephone,
                        e.   Nikon Cool Pix digital camera,
27                      f.   Cannon scanner,
                        g.   Cannon printer,
28                      h.   Micro-SD and memory cards, and
     PRELIMINARY ORDER OF FORFEITURE                    1
     Case 1:16-cr-00093-LJO-SKO Document 120 Filed 05/17/17 Page 2 of 2


 1                      i. Miscellaneous documents.

 2             2.        The above-listed assets constitute property that was derived from, or are the

 3    proceeds the defendant obtained directly or indirectly, as the result of a violation of 18 U.S.C

 4    § 371.

 5             3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

 6    authorized to seize the above-listed property. The aforementioned property shall be seized

 7    and held by the Department of Homeland Security, Customs and Border Protection in its

 8    secure custody and control.

 9             4.       a.       Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(n), and

10    Local Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this

11    Order and notice of the Attorney General’s (or a designee’s) intent to dispose of the property in

12    such manner as the Attorney General may direct shall be posted for at least 30 consecutive days

13    on the official internet government forfeiture site www.forfeiture.gov. The United States may

14    also, to the extent practicable, provide direct written notice to any person known to have alleged

15    an interest in the property that is the subject of the order of forfeiture as a substitute for published

16    notice as to those persons so notified.

17                      b.       This notice shall state that any person, other than the defendant, asserting a

18    legal interest in the above-listed property, must file a petition with the Court within sixty (60)

19    days from the first day of publication of the Notice of Forfeiture posted on the official

20    government forfeiture site, or within thirty (30) days from receipt of direct written notice,

21    whichever is earlier.

22             5.       If a petition is timely filed, upon adjudication of all third-party interests, if any,

23    this Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. 981(a)(1)(C) and 28 U.S.C.

24    § 2461(c), in which all interests will be addressed.

25
      IT IS SO ORDERED.
26
27        Dated:       May 17, 2017                               /s/ Lawrence J. O’Neill _____
                                                        UNITED STATES CHIEF DISTRICT JUDGE
28
     PRELIMINARY ORDER OF FORFEITURE                        2
